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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


   UNITED STATES OF AMERICA, et al.,

                      Plaintiffs,
           v.                                                      No. 1:23-cv-00108-LMB-JFA

   GOOGLE LLC,

                      Defendant.


   NON-PARTY PUBMATIC, INC.’S OBJECTION TO THE PUBLIC USE AT TRIAL OF
         CONFIDENTIAL PUBMATIC BOARD PRESENTATION AND DATA

         Pursuant to Local Civil Rule 5, Federal Rule of Civil Procedure 26, and the Court’s

  Amended Pre-Trial Scheduling Orders (Dkt. Nos. 871, 913), non-party PubMatic, Inc.

  respectfully objects to the public use at trial of: (1) a single PubMatic board presentation deck,

  dated January 29, 2019, unless used with the redactions proposed herein; and (2) any chart,

  diagram, demonstrative, or composite exhibit in a form that discloses PubMatic-specific take

  rates, revenue shares, market share, or financial metrics. PubMatic also requests that the Court

  enter an order establishing protocols for the treatment of confidential exhibits, information, and

  testimony at trial, with provisions sufficient to protect the compelling commercial interests of

  those, like PubMatic, that produced extremely sensitive documents and data to the parties.

                                    PRELIMINARY STATEMENT

         PubMatic produced tens of thousands of pages of confidential and highly confidential

  documents and many petabytes of confidential and highly confidential data in connection with

  this matter. At every stage, PubMatic has sought to provide information reasonably needed by

  the parties (and, now, the Court) while also protecting the confidentiality of its pricing and other

  sensitive business information.
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         The parties have indicated their intention to use several PubMatic documents at trial and

  to use charts, figures, or tables that include PubMatic data. PubMatic has reviewed with care the

  lists of documents and figures that the parties seek to introduce, and—mindful of the Court’s

  obligation to promote public access to trial proceedings—seeks to seal from public view only:

  (1) certain pages of a single, highly confidential presentation deck created for a PubMatic board

  meeting, which Defendant Google, LLC has identified as a potential trial exhibit (see Dkt.

  No. 894 (DTX 665)), and (2) any portion of the 74 graphs, charts, and figures identified by the

  parties as exhibits that shows highly confidential PubMatic-specific data or information (rather

  than, for example, information about multiple market participants presented in the aggregate).

  PubMatic submits that these requests are narrowly tailored and conform both with applicable law

  and with Magistrate Judge Anderson’s rulings on the sealing of pre-trial submissions.

                                    FACTUAL BACKGROUND

         PubMatic participates in the digital advertising market in a variety of ways, principally by

  operating a supply-side platform. As such, PubMatic both competes with Google and relies on

  Google as a counterparty and business partner. PubMatic is not a party to any litigation—with

  Google or otherwise—concerning alleged monopolization in the digital advertising market and is

  not a party to the present suit. PubMatic has, however, received and complied with multiple non-

  party subpoenas and a civil investigative demand in this and related proceedings.

         PubMatic has always taken care to ensure the maximum possible confidentiality

  protection when producing documents or information, because much of the material it has

  produced is of the greatest competitive sensitivity. Most sensitive of all are “take rates,” which

  measure the share of a publisher’s revenue that a supply-side platform “takes” in exchange for its

  services. This price information is among the most highly confidential and carefully guarded

  pieces of information in the digital advertising market. PubMatic does not disclose its take rates,


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  which are specifically negotiated and agreed with individual publisher partners. Disclosure of

  PubMatic’s take rates to its competitors will cause acute competitive harm by allowing those

  competitors profoundly asymmetrical information on PubMatic’s pricing.

         A.      The Board Presentation

         On July 5, 2024, the parties gave notice of their proposed trial exhibits, including seven

  documents that PubMatic designated as highly confidential when it produced them. (See Dkt.

  Nos. 892-1, 894.) Having reviewed those documents with care, PubMatic seeks sealing from

  public disclosure at trial only discrete portions of a single document: a January 29, 2019,

  PowerPoint deck with Bates-numbers PUBMATIC_DOJ-00000132 to PUBMATIC_DOJ-

  00000203, containing a presentation for an internal PubMatic board meeting concerning—

  among other things—the company’s strategic and financial performance and outlook (DTX 665

  (“Board Presentation”)). The Board Presentation contains highly confidential information

  intended for high-level strategic discussion by PubMatic’s board in the context of a complex and

  fast-evolving market, including detailed discussions of PubMatic’s take rates and of strategic

  risks and opportunities facing the Company.

         PubMatic produced this document to the Department of Justice in August 2020, in

  compliance with a civil investigative demand. When it did so, PubMatic requested (and stamped

  on every produced page) that the produced documents be treated as confidential and afforded

  confidential treatment under FOIA—i.e., maximum confidentiality protection. PubMatic

  understands that the Government subsequently produced this document (with the rest of

  PubMatic’s production in response to that CID) to Google in connection with this lawsuit,

  subject to the governing confidentiality order in this matter. The sensitivity of the information in

  the Board Presentation is not materially diminished by the fact that the take rates in the Board




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  Presentation are from 2019, because many take rates are contractually negotiated and remain

  unchanged for years. Nor is the sensitivity materially diminished when take rates are averaged

  across time periods or geographic regions, because other market participants can still glean

  competitively significant information from such data to PubMatic’s disadvantage.

         While PubMatic expected that the entire Board Presentation would be maintained in

  confidence both when it was created and when it was produced, PubMatic believes that its most

  critical competitive information can be protected by redacting only the following pages (in their

  entirety) to restrict them from public view: 21, 23, 27–28, 32, 35–36, 42, 45–49, 53–54, 57–58,

  74, and 78–81 (PUBMATIC_DOJ-00000134, 136, 140–41, 145, 148–49, 155, 158–62, 166–67,

  170–71, 187, and 191–94). These pages contain highly confidential information concerning take

  rates (at 23, 27–28, 53, 57–58, 74, and 78–79), divergences between planned and actual financial

  and business performance (at 21, 23, 27–28, 32, 35–36, 42, 45–47, 49, 53–54, and 80–81), and a

  never-disclosed strategic proposal (at 48).

         B.      PubMatic Data in Exhibits, Demonstratives, or Composite Exhibits
                 Consisting of Proposed Graphs, Charts, and Tables

         In response to the Government’s subpoena, PubMatic produced a detailed spreadsheet

  reflecting and summarizing its takes rates and transaction volume (among other things) over the

  period from January 2017 through March 2023. PubMatic also produced—after extensive

  consultation and at considerable financial cost—a very large sample of transaction-level data

  about auctions conducted in June 2023. Similar to the Board Presentation, PubMatic designated

  both of these productions as “Highly Confidential.” (See Dkt. No. 203 ¶ 1(h) (Protective Order).)

         On July 5 and July 12, respectively, DOJ and Google provided notice of their intent to

  use at trial certain exhibits that appear to be charts, graphs, and tables that reflect or summarize

  data drawn from—among other sources—PubMatic’s highly confidential data. DOJ indicated its



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  intention to use 34 such charts, graphs, and tables, and provided only the minimally descriptive

  titles given to those items in expert reports. Google identified 40 such charts, graphs, and tables,

  and provided them for PubMatic’s review in redacted form only, obscuring both their actual

  content and also, in most cases, the labels for the data presented. The exhibits that the parties

  identified to PubMatic are listed in the footnote below and in the Proposed Order attached hereto

  as Exhibit A.1

         Hence, PubMatic has been unable to review the complete charts, graphs, and tables that

  the parties propose to use at trial. However, based on PubMatic’s review of the information

  provided, it appears that at least some of these proposed exhibits contain the following types of

  highly confidential information:

         •   PubMatic’s take rates, which are highly sensitive for the reasons already described;

         •   Other features of PubMatic’s competitive performance, such as business strategy and
             planning information, spending information, win rates, the number of ad impressions
             transacted in particular regions and time-periods, specific revenues generated by
             those sales, and market shares vis-à-vis competitors in those regions and time-
             periods; and

         •   Aspects of PubMatic’s financial performance that are not otherwise public, including
             information from the period before it became a public company.

         To the extent that these proposed exhibits disclose take rates or other data specifically

  identified with PubMatic, PubMatic strongly objects to their public use at trial other than in a

  form redacted to obscure such PubMatic-specific information. PubMatic does not object to the

  public use at trial of exhibits containing data aggregated across sources—for example, those


  1 The exhibits identified by DOJ are: PTX 1199, 1200, 1202, 1203, 1205, 1213, 1233, 1237,

  1238, 1239, 1240, 1241, 1260, 1261, 1262, 1263, 1265, 1266, 1280, 1292, 1293, 1294, 1295,
  1306, 1307, 1310, 1311, 1314, 1317, 1318, 1364, 1365, 1396, and 1397.
  The exhibits identified by Google are: DTX 1651, 1839, 1862, 1891, 1892, 1893, 1943, 1948,
  1949, 1950, 1955, 1956, 1959, 1989, 1991, 2043, 2044, 2045, 2046, 2047, 2048, 2051, 2053,
  2054, 2056, 2057, 2058, 2064, 2065, 2066, 2067, 2068, 2069, 2070, 2071, 2072, 2073, 2074,
  2075, and 2076.


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  showing industry-wide average take rates. Because PubMatic has been unable to review the

  actual, unredacted charts, graphs, and figures proposed for use by the parties, PubMatic must rely

  on the Court and the parties to identify which proposed exhibits contain specifically PubMatic-

  identifiable data.

                                             ARGUMENT

  I.      SEALING IS APPROPRIATE BECAUSE COMPELLING INTERESTS
          OUTWEIGH THE PUBLIC’S INTEREST IN ACCESS AT TRIAL

          PubMatic’s proposed redactions are appropriate because they are narrowly tailored to

  serve the compelling interest in the privacy of PubMatic’s most competitively sensitive business

  information, which outweighs any public interest in access to this subset of the PubMatic-

  specific information.

          A court called upon to adjudicate a sealing request must “first [] determine the source of

  the right of access with respect to each document.” Va. Dep’t of State Police v. Washington Post,

  386 F.3d 567, 576 (4th Cir. 2004) (quotation marks omitted). “The stronger First Amendment

  guarantee of public access, with its attendant requirement to weigh competing interests, applies

  where efforts are made to seal documents offered into evidence before a court in the course of a

  public jury trial.” Level 3 Commc’ns, LLC v. Limelight Networks, Inc., 611 F. Supp. 2d 572, 579

  (E.D. Va. 2009). Under the First Amendment, the public’s right to access is not absolute, and

  may be superseded by a showing that a “compelling government interest” outweighs the right to

  access and that the denial of access is narrowly tailored to serve that interest. Doe v. Public

  Citizen, 749 F.3d 246, 266 (4th Cir. 2014); see United States ex rel. Oberg v. Nelnet, Inc., 105

  F.4th 161, 171 (4th Cir. 2024) (same).

          For example, the public’s interest in access may give way in the face of “a person or

  corporate entity’s property interest in” valuable confidential information. Level 3 Commc’ns, 611



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  F. Supp. 2d at 581 (protecting trade secrets); see also Nixon v. Warner Commc’ns, Inc., 435 U.S.

  589, 598 (1978) (“[T]he right to inspect and copy judicial records is not absolute . . . courts have

  refused to permit their files to serve as . . . sources of business information that might harm a

  litigant’s competitive standing”); Doe, 749 F.3d at 269 (recognizing, in context of evaluating

  scope of First Amendment right of access, that “[a] corporation may possess a strong interest in

  preserving the confidentiality of its proprietary and trade-secret information” that justifies

  sealing); Benedict v. Hankook Tire Co. Ltd., 323 F. Supp. 3d 747, 766 (E.D. Va. 2018)

  (“protecting proprietary commercial information can be a compelling interest under the First

  Amendment test”).

         Here, the requested pages from the Board Presentation and any PubMatic-specific data in

  the parties’ proposed exhibits should be sealed from public view because PubMatic has a strong

  interest in protecting its take rates and other highly sensitive commercial information created to

  facilitate strategic deliberation within a private, non-party company or in PubMatic-specific

  pricing and related data. Moreover, the Government has an aligned interest in encouraging

  private cooperation with its investigations, including through compliance with civil investigative

  demands. These two interests outweigh any de minimis interest the public may have in a relative

  handful of pages from a single board presentation or the PubMatic-specific pricing and related

  financial data to the public use of which PubMatic hereby objects.

         The Board Presentation was prepared for internal strategic purposes and contains highly

  sensitive business data, information, and strategy. This sensitive information includes take rates,

  which are among PubMatic’s most sensitive information, as well as non-public analysis of

  divergence between PubMatic’s projected and actual business and financial performance (before

  it became a public company).




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         The parties’ other proposed exhibits that use PubMatic’s information very likely also

  reflect granular, PubMatic-specific information drawn from PubMatic’s highly confidential data

  productions. Again, PubMatic cannot see these exhibits in unredacted form (and cannot see some

  at all), but based on the parties’ descriptions many or all of the charts or graphs likely include

  PubMatic-specific data regarding take rates and even PubMatic take rates broken down by time-

  period and geographic region. PubMatic’s sealing request, however, is narrow: the data and

  analysis reflected in these exhibits would remain unobstructed, except for those limited portions

  identifying PubMatic as the origin of specific confidential and sensitive data. Because PubMatic

  does not have unredacted copies of these documents to review itself, it must rely on the parties

  and the Court to police the disclosure of its most sensitive corporate secrets.

         As noted, disclosure to PubMatic’s competitors would cause acute competitive harm by

  putting PubMatic in a position where its competitors have unjustified and asymmetrical

  information on PubMatic’s pricing, costs, and auction results. It would be deeply unfair—and

  ironic—for litigation aimed at protecting competition in the digital advertising market to result in

  disclosure of competitively sensitive information to the detriment of one of the very market

  participants the Government may argue was disadvantaged by Google’s conduct. Faced with this

  reality, Judge Anderson has correctly (and repeatedly) held that take rates and other similar

  information should remain sealed. (E.g., Dkt. No. 902 at 3 (“specific information relating to

  individual take rates or revenue shares by non-parties should remain under seal and [sealing] is

  appropriate under the compelling governmental interest standard” (emphases omitted)).) Those

  rulings are in keeping with those of other courts in this District, which similarly have left sealed

  this sort of competitive information, notwithstanding any First Amendment right of access. See,

  e.g., Lifenet Health v. Lifecell Corp., Civil Action No. 2:13cv486, 2015 WL 12517430, at *4




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  (E.D. Va. Feb. 12, 2015) (sealing trial transcript and holding First Amendment presumption of

  access “overc[o]me,” where, inter alia, “document contain[ed] confidential and proprietary

  commercial information . . . belonging to the parties as well as nonparties . . .” (emphasis added)

  (quotation marks omitted)); Intelligent Verification Sys., LLC v. Microsoft Corp., No. 2:12-cv-

  525, 2014 WL 12659953, at *1 (E.D. Va. Dec. 22, 2014) (ruling “sensitive business

  information” appended to summary judgment motion could remain under seal where, inter alia,

  defendant’s “competitive position might be impaired if this information [were] disclosed to the

  public at large”); E. W., LLC v. Rahman, No. 1:11CV1380 JCC/TCB, 2012 WL 3841401, at *3

  (E.D. Va. Sept. 4, 2012) (sealing expert reports containing “sensitive financial data, including

  gross profit data, the disclosure of which would be highly likely to cause significant harm to the

  business competitive position of both parties”).

  II.    THE PROCEDURAL REQUIREMENTS FOR SEALING HAVE BEEN
         SATISFIED

         PubMatic notes that the procedural requirements for sealing are satisfied here.

         First, the Court’s Amended Scheduling Order (see Dkt. Nos. 871, 913) has provided

  public notice that “any party or non-party who objects to the public use of confidential

  documents or testimony must file a specific objection with a proposed acceptable redaction of

  the information.” With this filing, PubMatic’s objection and proposed redactions are now public.

  Furthermore, the Amended Scheduling Order permits “objections to a party’s or non-party’s

  proposed redactions or to the use of confidential information in any respect” to be filed by

  August 2, 2024. Accordingly, any person wishing to challenge PubMatic’s requests has or will

  have “a reasonable opportunity” to do so. Va. Dep’t of State Police, 386 F.3d at 576; see also

  E.D. Va. Local Civ. R. 5(C).

         Second, the sealing requests above are narrowly tailored and would not shield more than



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   is necessary to safeguard PubMatic’s entirely legitimate interests. See supra Argument Part I;

   Va. Dep’t of State Police, 386 F.3d at 576; E.D. Va. Local Civ. R. 5(C).

          Third, PubMatic has filed a proposed order attached as Exhibit A. Va. Dep’t of State

   Police, 386 F.3d at 576; E.D. Va. Local Civ. R. 5(C).

                                            *       *       *

          For all the above reasons, PubMatic objects to the public use at trial of the Board

   Presentation and of the parties’ proposed exhibits that are graphs and charts—except as redacted

   to protect PubMatic-specific information from public disclosure.

   III.   THE CONFIDENTIALITY ORDER CONTEMPLATES A FURTHER ORDER
          GOVERNING TREATMENT OF CONFIDENTIAL INFORMATION

          PubMatic appreciates that the existing protective order in this action contemplates “a

   separate court order” to govern the protection or disclosure at trial of any material marked

   “Confidential” or “Highly Confidential.” (Dkt. No. 203 ¶ 23.) With that in mind, we respectfully

   submit that an order recently entered by the District Court for the District of Columbia may be a

   useful reference point for the drafting and content of such an order. In hopes it may be helpful to

   the Court, we attach as Exhibit B the “Stipulated Order on the Use of Confidential Information at

   Trial,” recently used in United States v. Google LLC, No. 20-cv-3010 (D.D.C.) (the “DDC

   Order”).

          PubMatic submits that entry of an order similar or analogous to the DDC Order is

   appropriate here, especially in light of non-parties’ (including PubMatic’s) reliance on the

   protective order and confidentiality designations in producing documents and information of the

   highest commercial sensitivity. And, specifically, just as PubMatic’s highly confidential

   information thus far has been shielded from competitors by the protective order, so too should a

   corresponding trial order in this case protect against the disclosure of PubMatic’s highly



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   confidential information (including take rates) in unredacted form to non-party witnesses.

           The DDC Order also includes, among other provisions that PubMatic would urge the

   Court to consider here: (i) an instruction that the parties consider using a “key assigning a

   generic label” (or “Rosetta Stone”) to named individuals and corporations or confidential

   information, to promote the ability to leave the courtroom open (¶ 2), and (ii) a suggestion that

   the parties consider using redacted versions of exhibits in open court (and, though not stated

   explicitly, perhaps unredacted versions with witnesses), where doing so would promote the

   Court’s ability to leave the proceedings open to the public (id.).

           We appreciate the Court’s careful attention to these issues and would welcome an

   opportunity to participate in the crafting of a final order governing the treatment of confidential

   materials at trial.

                                            CONCLUSION

           For the foregoing reasons, PubMatic requests that the Court (1) seal the Board

   Presentation from public view except in a form with the redactions set out above, and (2) seal the

   proposed graphical and chart exhibits from public view except in a form redacting portions that

   identify PubMatic as the source of specific data or figures.



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   Dated: Alexandria, Virginia
          July 26, 2024

   CARMICHAEL ELLIS & BROCK, PLLC          CLARICK GUERON REISBAUM LLP


   By: /s/William Wirt Brock, IV           By: /s/Isaac B. Zaur__________
        William Wirt Brock, IV                  Isaac B. Zaur (pro hac vice)
        (VSB# 67985)                            Nicole Gueron (pro hac vice)
        108 N. Alfred Street, 1st Floor         Alexander D. Bernstein (pro hac vice)
        Alexandria, Virginia 22314              220 Fifth Avenue, 14th Floor
        (703) 684-7908                          New York, New York 10001
        703-649-6360 (fax)                      (212) 633-4310
        wirt@carmichaellegal.com                izaur@cgr-law.com
                                                ngueron@cgr-law.com
                                                abernstein@cgr-law.com



         Attorneys for PubMatic, Inc.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 26th day of July 2024, I electronically filed the foregoing

   Objection to the Public Use at Trial of Confidential PubMatic Board Presentation and Data with

   the Clerk of Court using the CM/ECF system, which will send notification of such filing to

   counsel for the other parties who have appeared in the case.


                                                        /s/ William Wirt Brock, IV
                                                        William Wirt Brock, IV (VSB #67985)
                                                        CARMICHAEL ELLIS & BROCK, PLLC
                                                        108 N. Alfred Street, 1st Floor
                                                        Alexandria, Virginia 22314
                                                        703-684-7908
                                                        703-649-6360 (fax)
                                                        wirt@carmichaellegal.com
                                                        Attorney for PubMatic, Inc.




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